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                                UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION

  TRAXXAS, L.P.,

          Plaintiff,
                                                           CASE NO. 2:16-cv-00768-JRG-RSP
  v.
                                                           JURY TRIAL DEMANDED
  HOBBICO, INC., et al.,

          Defendant.

   DEFENDANT THE FIRELANDS GROUP, LLC’S MOTION TO REVISE MEDIATION
        ORDERS AND REFER CASE TO SETTLEMENT CONFERENCE WITH
                          MAGISTRATE JUDGE

          Defendant The Firelands Group, LLC (“Firelands”) respectfully files this motion

  requesting that the Court (1) vacate its order to mediate this case as contained most recently in the

  Court’s Amended Docket Control Order (Dkt. No. 140) setting a mediation deadline of April 27,

  2018, (2) vacate its order appointing Hon. David Folsom as mediator (Dkt. No. 21 in the pre-

  consolidation Case No. 2:16-CV-736-JRG-RSP) with whom the parties have a current mediation

  date of April 25, 2018, and (3) refer this case to Magistrate Judge Roy Payne, if he is willing and

  available, or another Eastern District of Texas Magistrate Judge for a settlement conference.

          Firelands has informed its counsel that it is unable to pay its portion of the Hon. David

  Folsom’s mediation fee. Declaration of Michael Gillette, attached as Exhibit 1. Firelands has also

  been unable to pay its counsel’s fees and litigation expenses over a period of at least the past six

  months. Firelands is, however, engaged in settlement negotiations with Plaintiff in an effort to

  resolve this case in lieu of mediation or further litigation and is willing to participate in a settlement

  conference for such purposes.
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         Wherefore, Firelands respectfully requests that the Court vacate its order to mediate this

  case and vacate its order appointing Hon. David Folsom as mediator and amend the Court’s

  Amended Docket Control Order (Dkt. No. 140) instead referring the parties to a scheduling

  conference with Magistrate Judge Roy Payne or another Eastern District of Texas Magistrate Judge.

                                                      Respectfully submitted,


                                                      /s/ Darby V. Doan
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                                                      ATTORNEYS FOR DEFENDANT
                                                      THE FIRELANDS GROUP, LLC

                                  CERTIFICATE OF SERVICE

          The undersigned certifies that the foregoing document was filed electronically in
  compliance with Local Rule CV-5(a). All other counsel of record not deemed to have consented
  to electronic service were served with a true and correct copy of the foregoing by certified mail,
  return receipt requested, on this the 11th day of April, 2018.

                                                       /s/ Darby V. Doan
                                                       Darby V. Doan

                               CERTIFICATE OF CONFERENCE

          The undersigned certifies that he has conferred, on this the 11th day of April, 2018, with
  counsel for Traxxas, L.P. regarding this motion and the relief requested herein. Traxxas is opposed
  to the relief requested as specifically worded and will promptly file its response to this motion
  explaining its position.

                                                       /s/ Darby V. Doan
                                                       Darby V. Doan
